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                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION




VERRAGIO, LTD.                                          CASE NO. 1:19-cv-603

                  Plaintiff,
                                                        PROOF OF SERVICE OF SUMMONS
            vs.                                         AND COMPLAINT

KD CREATIONS JEWELRY INC.,

                  Defendant.


        Plaintiff Verragio, Ltd., through ATG LegalServe Inc., states that it served upon Defendant
KD Creations Jewelry Inc., c/o Jesus Atilano, an employee, 5 South Wabash Avenue, #910, Chicago,
Illinois 60615 on the 8th day of February, a copy of the Summons in a Civil Case; Complaint for
Copyright Infringement and Trademark Infringement; Civil Cover Sheet; Plaintiff’s Rule 7.1
Corporate Disclosure Statement and Local Rule 3.2 Notification as to Affiliates; Report on the Filing
or Determination of an Action Regarding a Patent or Trademark; Report on the Filing or
Determination of an Action or Appeal Regarding a Copyright; Notice of Mandatory Initial
Discovery; Amended Standing Order Regarding Mandatory Initial Discovery Pilot Project;
Mandatory Initial Discovery Pilot Project Checklist; and Notification of Docket Entry, pursuant to
the attached Affidavit of Special Process Server.
                                                      Respectfully submitted,

                                                       TUCKER ELLIS LLP


                                                       By: /s/Howard A. Kroll
                                                       Howard A. Kroll – CA Bar No. 100981
                                                       Tucker Ellis LLP
                                                       515 South Flower Street
                                                       42nd Floor
                                                       Los Angeles, CA 90071
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                                                       Attorneys for Plaintiff
                                                       Verragio, Ltd.




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